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AO 455 (Rev. 01 /09) Waiver of an Indictment


                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                           Southern District of Florida

                  United States of America                              )
                                  V.                                    )       Case No. 18-80 I 09-cr-Rosenberg/Reinhart
                                                                        )
                     John Joseph O ' Grady                              )
                             Defendant                                  )

                                                     WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one year.
I was advised in open court of my rights and the nature of the proposed charges against me.

       After receiving this advice, I waive my right to prosecution by indict
information .


Date : _(-+-
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                  FILED BY _5¥.                     D.C.                              Signature of defendant's attorney

                            JUN 0 7 2018
                           STEVEN M. LARIMORE
                            CLERK U.S. DIST. CT.
                            S.D. OF FlA .. W.P.B.                                     Printed name of defendant 's attorney




                                                                               Dave Lee Brannon, U.S. Magistrate Judge
                                                                                      Judge 's printed name and title
